
PER CURIAM.
Defendant, Charlie T. Washington, who was convicted and sentenced in two cases, *1239petitions for a belated appeal. We deny the petition. When this court affirmed the denial of his third Rule 3.800(a) motion in 2003, we expressly warned Washington that further collateral attacks on his convictions and sentences would be successive and improper. Washington v. State, 838 So.2d 699 (Fla. 5th DCA 2003). We also warned the defendant against further pro se collateral attacks when he appealed the denial of his fourth Rule 3.800(a) motion in 2004. Washington v. State, 867 So.2d 649 (Fla. 5th DCA 2004). Undaunted, the defendant has continued to attack his convictions and sentences in his two cases.
Because the defendant continues to waste the judicial resources of this court, we issued a show cause order pursuant to State v. Spencer, 751 So.2d 47 (Fla.1999). We have received and find no merit to his response. As Washington has repeatedly abused the judicial system in this regard, he qualifies for this court’s “enough is enough” rule. See Isley v. State, 652 So.2d 409 (Fla. 5th DCA 1995). We hold that Washington is precluded from filing any additional pro se appeals, pleadings, motions or petitions pertaining to his convictions and sentences for case numbers 98-1849-CFMA and 99-381-CFMA, Seventh Judicial Circuit, in and for Putnam County, unless reviewed and signed by an attorney licensed to practice in the State of Florida. The clerk of this court is directed not to accept from Washington, as petitioner or appellant, any further pro se pleadings or filings relating to those cases. See Jackson v. Florida Dep’t of Corr., 790 So.2d 398 (Fla.2001), cert. denied, 536 U.S. 908, 122 S.Ct. 2365, 153 L.Ed.2d 186 (2002); Vickson v. Singletary, 734 So.2d 376 (Fla.1999); Medberry v. State, 824 So.2d 1058 (Fla. 5th DCA 2002), mandamus denied, 874 So.2d 1192 (Fla.2004); Isley.
PETITION FOR BELATED APPEAL DENIED.
ORFINGER, MONACO and EVANDER, JJ., concur.
